UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                X           15-CV-6975(NG)(LB)
RAJAH S. IKKER
                        Plaintiff,

   -    against-                                            ORDER TO SHOW CAUSE
THE CITY OF NEW YORK, et al.,

                        Defendant (s)



        Upon reading and filing the Affirmation of BRIAN FIGEROUX., duly affirmed the 17th July
2017 and upon all theprior pleadings and proceedings herein.

      LET the Plaintiff, RAJAH IKKER and the Defendants, CITY OF NEW YORK show cause, at
the United States District Court, Eastern District of New York, Part             , Rm
                                thereof, on the 20th day of July, 2017 at 9:30 am or as soon thereof as
counsel may be heard:

        WHY an Order should not be issued pursuant Section 1.4. of the Local Rules of the Eastern
District:

        a) Relieving FIGEROUX &ASSOCIATES as Plaintiffs counsel;
        b) Ordering acharging lien on behalf ofFIGEROUX &ASSOCIATES
        c) Ordering reimbursement ifdisbursements on behalfof FIGEROUX &ASSOCIATES
        d) For such other, further relief as this Court may deem just and proper.
        ORDERED, that all further proceedings in this matter, except that which is necessary to the
relief herein requested, be and the same are stayed, until the determination ofthis motion;
SUFFICIENT REASON APPEARING THEREFORE, it is
    ORDERED that service shall be made upon Plaintiff, RAJAH IKKER, by and through his attorneys
Figeroux &Associates, located at 26 Court Street Suite 701, Brooklyn, NY 11501, on or before the 20
day ofJuly 2017, by regular mail service be deemed good and sufficient service;
   ORDERED that service of acopy of this Order, together with all supporting papers upon which it
is granted, upon Defendants, The CITY OF NEW YORK, on or before the 20™ day of July 2017, by
overnight courier, be deemed good and sufficient service upon those parties and it is further.



 Hon: Gershon
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                      X       15-CV-6975(NG)(LB)
RAJAH S. IKKER

                        Plaintiff,
       against-
                                                              AFFIRMATION IN SUPPORT OF
                                                              ORDER TO SHOW CAUSE


THE CITY OF NEW YORK, et al.,

                        Defendant (s)



       BRIAN FIGEROUX, Esq., an attorney duly admitted to practice in the State of New York,
affirms under penalty ofperjury that the following statements are true, except those made on information
and belief which he believes to be true:

       1.      I am the attorney of record for the above-named Plaintiff, RAJAH IKKER and am
familiar with the facts of this case and make this affirmation in support of the Order to show Cause
seeking an Order a) Relieving FIGEROUX & ASSOCIATES as Plaintiffs counsel; b) Ordering a
charging lien on behalf ofFIGEROUX &ASSOCIATES; c) Ordering reimbursement ifdisbursements
on behalf ofFIGEROUX &ASSOCIATES; d) further relief as this Court may deem just and proper.
       2.         This is acivil rights action brought pursuant to 42 U.S.C. §1983§ 1985, §1986, alleging
aviolation ofPlaintiff s civil liberties after an encounter with Police Officers Doyle and Francis, on or
about June 12, 2015. Plaintiff commenced an action on December 8, 2015, and issue was joined on or
about April 1,2016. (Pleadings are annexed as Exhibits "A &B".)
        S.        Discovery in this matter was completed on January 13, 2017 and Plaintiff submitted a
joint pretrial order to the Court on or before May 8, 2017.
        4.        Due to irreconcilable differences, Plaintiffs refusal to cooperate with counsel, and his
insistence on new lawyers, our firm can no longer represent the Plaintiff.
       5.      On June 12,2017, a reset hearing was held that ultimately scheduled a pretrial conference

for June 22, 2017. The assigned attorney, Sidney Jean, failed to appear on behalf of Plaintiff due to an

oversight on the office's calendar.

       6.      On June 22, 2017, the Court scheduleda date for trial on July 20, 2017 at 9:30 in a court

room to be determined. Plaintiffs counsel was cautioned that if he fails to appear for trial on July 20,

2017, thecase will be dismissed withprejudice forfailure to prosecute pursuant to Fed R. Civ. P. 41(b).

       7.       On or about June 27, 2017, your affirmant contacted Attorney for the Defendant, Ms.

Joanne Mc Laren, informing her that Plaintiff was interested in exploring a settlement. Your affirmant

thereafter contacted Plaintiff, RAJAH IKJCER via telephone number and informed him that settlement

negotiations were on the way.

       8.      After engaging inlengthy negotiations with Ms. Mc Laren, all parties orally agreed to a
settlement. After receiving the final settlements papers, our office contacted Plaintiff to schedule an
appointment for him to execute settlement papers, but was however informed by Plaintiff that he was
not accepting said settlement offer.

       9.      On or about July 10, 2017, Plaintiff came into your affirmant' s office where he began
behaving belligerent toward your affirmant regarding the proposed settlement and status of case.
Plaintiffbegan using expletive language towards your affirmant and insisted that he would retain another
attorney to represent in his case.
        10.     During your affirmant' sinteraction with Plaintiff, Plaintiff appeared mentally unstable
and dysfunctional.

        11.    Thereafter, your affirmant contacted Ms. Mc Laren via telephone informing her of
Plaintiffs position and his refusal to accept said offer.

                                               ARGUMENT

        Pursuant to Local Civil Rule 1.4 which governs withdrawal of attorneys, "[a]n attorney who has
 appeared as attorney ofrecord for aparty ... may not withdraw from acase without leave ofthe Court
granted by order. Such an order may be granted only upon a showing by affidavit or otherwise of

satisfactory reasons for withdrawal...." Satisfactory reasons include "a client's lack of cooperation—

including lack of communication—with counsel, and the existence of an irreconcilable conflict between

attorney and client." Diarama Trading Co. v. J. Walter Thompson U.S.A., 01 Civ. 2950 (DAB), 2005 U.

S. Dist. LEXIS 17008, at *4 (S.D.N.Y. Aug. 12, 2005) (internal quotation marks omitted); see also

Ashmore v. Cgi Group, Inc., 11 Civ. 8611 (AT), 2014 U.S. Dist. LEXIS 51618, at *2 (S.D.N.Y. Apr. 7,

2014) (a breakdown of the attorney-client relationship is sufficient grounds for withdrawal); Winkfield

v. Kirschenbaum & Phillips, P.C., 12Civ. 7424(JMF), 2013 U.S. Dist. LEXIS 12093, at *3-4 (S.D.N.Y.

Jan. 29, 2013) (irreconcilable differences constitute a satisfactory reason for withdrawal). Here, Mr.

Suffin accuses plaintiff of failing to cooperate inthe litigation process and plaintiff accuses Mr. Suffin
offailing to protect her interests. ECF No. 47,52,53. Both Mr. Suffin's motion and plaintiffs opposition
reflect that the attorney-client relationship has broken down. See Ashmore v. CGI Group, Inc., 11 Civ.
8611 (AT), 2013 U.S. Dist. LEXIS 156953, at *4 (S.D.N.Y. Oct. 30,2013) (explaining that plaintiffand
counsel's "cross-allegations of untrustworthiness and dishonesty[] establish the breakdown in the
attorney-client relation).

          12.   In light ofthe sudden and inexplicable break down ofattorney client relationship, lack of
cooperation and request by Plaintiff to obtain new counsel, your affirmant respectfully request to be
relieved as counsel for the Plaintiff and that all proceedings be stayed for areasonable time to allow
Plaintiff to secure newcounsel as the Court deems fair and just.
          13.   Additionally, we respectfully request that the Court order acharging lien for attorneys'
services rendered to date and reimbursement of disbursements.

          14.   No previous application has been made to this or any other court for the relief requested
herein.
      15.    WHEREFORE, the undersigned prays for an Order granting all ofthe foregoing relief.

Dated: Brooklyn, New York
       July 17, 2017


                                                       Yours' etc.
                                                       FIGEROUX & ASSOCIATES




                                                           [AN^ieEROUX, Esq.
                                                       /ftforney for the Plaintiff
                                                       RAJAH IKKER
                                                       26 Court Street, Suite 701
                                                       Brooklyn, NY, 11242
                                                       Tel: 718-834-0190
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                  X   15-CV-6975(NG)(LB)
RAJAH S. IKKER

                  Plaintiff,
      against-

THE CITY OF NEW YORK, et al.,

                  Defendant (s)




   ORDER TO SHOW CAUSE AND AFFIRMATION IN
  SUPPORT OF ORDER TO WITHDRAW AS COUNSEL




                                      Yours' etc.
                                      FIGEROUX & ASSOCIATES




                                      BRIANFIGEROUX, Esq.
                                      Attorney for the Plaintiff
                                      RAJAH IKKER
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                                       Brooklyn, NY, 11242
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